                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


THOMAS L. WILSON,

                                       Plaintiff,

               v.                                                  CASE NO. 23-3030-JWL

ROBERT K. WALLACE, ET AL.,


                                       Defendants.


                                       SERVICE ORDER

       This matter is a civil rights action filed by a prisoner in the custody of the Secretary of the

Kansas Department of Corrections (“KDOC”). The Court has conducted a preliminary review of

the Complaint and finds a responsive pleading is necessary.

       IT IS ORDERED that:

       The Clerk of the Court shall notify the Kansas Attorney General (“AG”) and the KDOC of

this Service Order. The Court requests that Defendants waive formal service of process.

       The AG and/or the KDOC shall have thirty (30) days from entry of this Service Order to

file a Waiver of Service Executed and/or a Waiver of Service Unexecuted. Upon the electronic

filing of the Waiver of Service Executed, Defendants shall have sixty (60) days to file an answer

or other responsive pleading. Any answer deadline set forth in the docket entry for the waiver of

service is not controlling.

       In those cases where a Waiver of Service Unexecuted is filed, the KDOC shall have ten

(10) days from the filing of the Waiver of Service Unexecuted, to supply the Clerk of Court with

the last known forwarding addresses for former employees, said addresses to be placed under seal

and used only for the purpose of attempting to effect service of process. The KDOC shall use the


                                                    1
event “SEALED Notice of Last Known Addresses of KDOC Employees” to submit the sealed

addresses to the Court.

       Copies of this Service Order shall be transmitted to the AG and the KDOC.



       IT IS SO ORDERED.

       DATED: This 22nd day of February, 2023, at Kansas City, Kansas.




                                           S/ John W. Lungstrum

                                           JOHN W. LUNGSTRUM
                                           United States District Judge




                                              2
